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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF KENTUCKY
                                NORTHERN DIVISION AT ASHLAND


 APRIL MILLER, et al.,


                                Plaintiffs,           Case No. 0:15-cv-00044-DLB

 v.                                                   Electronically filed
 KIM DAVIS, et al.,

                                Defendants.


                 DECLARATION OF JAMES D. ESSEKS IN SUPPORT OF
                   PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES
       I, James D. Esseks, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.       I submit this declaration in support of the motion filed by Plaintiffs for an award

of attorney fees and costs arising from the work performed by attorneys at Clay Daniel Walton &

Adams, PLC; at the American Civil Liberties Union (“ACLU”) Foundation; and the ACLU of

Kentucky, in litigating the above-captioned case.

                             Personal and Professional Background
       2.       I received a J.D. degree cum laude from Harvard Law School in 1991, where I

was the editor-in-chief of the Harvard Civil Rights-Civil Liberties Law Review. I received a

B.A. degree magna cum laude from Yale College in 1987, with distinction in linguistic

anthropology.

       3.       I am licensed to practice law in New York State and in California. I am also

admitted to practice before the United States Supreme Court; the United States Courts of

Appeals for the Second, Third, Fourth, Sixth, Seventh, Ninth, and Eleventh Circuits; the United

States District Courts for the Eastern and Southern Districts of New York, the Northern and

Central Districts of California, and the District of Columbia.

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                                                                                          Plaintiffs' Exh. 6
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       4.      I served as a judicial law clerk for the Honorable Robert L. Carter, United States

District Judge for the Southern District of New York, from 1991 to 1992, and for the Honorable

James R. Browning, United States Circuit Judge for the Ninth Circuit, from 1992 to 1993.

       5.      From 1993 until 1997 I was an associate, and then from 1998 through 2001 I was

a partner, at Vladeck, Waldman, Elias & Engelhard, P.C., a private law firm in New York City

that specializes in employment and labor law (now known as Vladeck, Raskin & Clark, P.C.).

While at the Vladeck firm, I tried cases in federal and state courts and before various arbitration

tribunals, argued appeals, and pursued claims primarily under federal civil rights statutes and the

federal constitution.

       6.      From 2001 until 2010, I was Litigation Director of the ACLU Foundation’s

Lesbian, Gay, Bisexual, Transgender, and HIV Project, based in New York, New York. From

2010 until the present, I have been Director of that same Project, overseeing both its legal

program and other aspects of its advocacy, including lobbying, administrative advocacy,

organizing, and education of the public about issues affecting lesbian, gay, bisexual, or

transgender (“LGBT”) people or people living with HIV.

       7.      Through my work with the LGBT & HIV Project, I have developed a specialty in

constitutional litigation generally and specifically in constitutional claims about the rights of

LGBT people.
       8.      I have been counsel in numerous constitutional cases about the freedom to marry

for same-sex couples, including Obergefell v. Hodges, 135 S. Ct. 2584 (2015) (striking down

bans on marriage for same-sex couples in Michigan, Ohio, Tennessee, and Kentucky, and

establishing freedom to marry for same-sex couples nationwide) (I was also counsel in Bourke v.

Beshear and Love v. Beshear, the Kentucky cases, which were consolidated with Obergefell in

the Supreme Court); United States v. Windsor, 133 S. Ct. 2675 (striking down the Defense of

Marriage Act); Bostic v. Schaefer, 760 F.3d 352 (4th Cir. 2014), cert. denied, 2014 WL


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3924685 (U.S. Oct. 6, 2014) (striking down Virginia’s ban on marriage for same-sex couples);

Baskin v. Bogan, 766 F.3d 648 (7th Cir. 2014), cert. denied, 2014 WL 3924685 (U.S. Oct. 6,
2014) (striking down Indiana’s ban on marriage for same-sex couples) (I was counsel in Fujii v.

Commissioner, which was consolidated with Baskin on appeal); Whitewood v. Wolf, 992 F. Supp.

2d 410 (M.D. Pa. 2014) (striking down Pennsylvania’s ban on marriage for same-sex couples);

Geiger v. Kitzhaber, 994 F. Supp. 2d 1128 (D. Or. 2014) (striking down Oregon’s ban on

marriage for same-sex couples) (I was counsel in Rummell v. Kitzhaber, which was consolidated

with Geiger); Brenner v. Scott, 999 F. Supp. 2d 1278 (N.D. Fla. 2014) (granting preliminary

injunction against enforcement of Florida’s ban on marriage for same-sex couples) (I was

counsel in Grimsley v. Scott, which was consolidated with Brenner); Fisher-Borne v. Smith, 14

F. Supp. 3d 695 (M.D.N.C. 2014) (striking down North Carolina’s ban on marriage for same-sex

couples); Aaron-Brush v. Bentley, No. 2:14-cv-01091 (N.D. Ala. 2014) (constitutional challenge

to Alabama’s ban on marriage for same-sex couples); Griego v. Oliver, 316 P.3d 865 (N.M.

2013) (striking down New Mexico ban on marriage for same-sex couples under state

constitution); In re Marriage Cases, 183 P.3d 384 (Cal. 2008) (striking down California’s ban on

marriage for same-sex couples under state constitution); Strauss v. Horton, 207 P.3d 48 (Cal.

2009) (rejecting state constitutional challenge to Proposition 8); Hernandez v. Robles, 855
N.E.2d 1 (N.Y. 2006) (upholding New York’s ban on marriage for same-sex couples under state
constitution) (I was counsel in Samuels v. New York State Dep’t of Health, which was

consolidated with Hernandez on appeal); Conaway v. Deane, 932 A.2d 571 (Md. 2007)

(upholding Maryland’s ban on marriage for same-sex couples under the state constitution); Li v.

Oregon, 110 P.3d 91 (Or. 2005) (dismissing challenge to Oregon’s ban on marriage for same-sex

couples).

       9.      I have also been counsel in cases challenging state laws barring lesbians and gay

men from being adoptive or foster parents. Those include In re Matter of Adoption of X.X.G.


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and N.R.G., 43 So.3d 79 (Fla. 3d Dist. Ct. App. 2010), which struck down Florida’s ban on

adoption by lesbian, gay, or bisexual people as violative of the Florida constitution; Howard v.

Child Welfare Agency Review Bd., 238 S.W.3d 1 (Ark. 2006), which struck down Arkansas’s

ban on placement of a foster child in any household that included a gay person; and Arkansas

Dep’t of Human Services v. Cole, 380 S.W.3d 429 (Ark. 2011), which struck down Arkansas’s

ban on adoption or foster parenting by any unmarried couple as violative of the Arkansas

constitution.

       10.      I have been counsel in a range of other civil rights cases including, as a

representative sample:

                a. Schroer v. Billington, 577 F. Supp. 2d 293 (D.D.C. 2008), in which a federal

                   district court ruled that the federal ban on sex discrimination in employment

                   bars discrimination against a woman who transitioned from male to female.

                b. Kansas v. Limon, 122 P.3d 22 (Kan. 2005), in which the Kansas Supreme

                   Court ruled that a state law that imposed a 17-year sentence for a consensual

                   sex act when engaged in by two people of the same sex, compared to a 15-

                   month sentence for the same act when performed by two people of different

                   sexes, violated federal equal protection.

                c. Boyd County High School Gay/Straight Alliance v. Board of Education, 258
                   F. Supp. 2d 267 (E.D. Ky. 2003) and Morrison v. Board of Education, 419 F.

                   Supp. 2d 937 (E.D. Ky. 2006), aff’d, 521 F.2d 602 (6th Cir. 2008), in which

                   the district court ruled that a high school violated the federal Equal Access

                   Act by denying students the ability to form a Gay-Straight Alliance student

                   club, and later ruled that the remedial training program set up to redress anti-

                   gay harassment in the school did not violate the free exercise of religion rights

                   of other students or their parents.


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                d. Levin v. Yeshiva Univ., 754 N.E.2d 1099 (N.Y. 2001), in which the New York

                    high court ruled that denying a same-sex couple who were registered as

                    domestic partners access to “married student housing” constituted disparate

                    impact discrimination based on sexual orientation in violation of New York

                    City law.

        11.     Over the past 25 years, I have been direct counsel in litigation in, or supervised

litigation in, 11 federal circuit courts, 30 federal district courts, and the state courts of 34 states,

including 18 state high courts.

        12.     I have argued appeals in United States Courts of Appeals for the Fourth and

Seventh Circuits, in the Kansas Supreme Court, in the New York Court of Appeals, and in the

Appellate Division of the New York Supreme Court, in addition to arguing motions and trying

cases before many lower state and federal courts.

        13.      I have received a number of awards for my work, including the 2013 Dan

Bradley Award from the National LGBT Bar Association, which is the organization’s “highest

honor” and recognizes a person whose work “has led the way in our struggle for equality under

the law.” http://lgbtbar.org/what-we-do/awards-recognition/dan-bradley-award/ I also received

the 2012 Community Vision Award from the LGBT Bar Association of Greater New York, was

a Wasserstein Public Interest Fellow at Harvard Law School in 2009, and was the 2013-2014
Vanderbilt Law School Social Justice Fellow.

        14.     I have lectured on constitutional law, LGBT rights, and employment law at

Columbia Law School, Fordham Law School, New York Law School, and the Wharton School

of the University of Pennsylvania.

                                              Time Spent
        15.     The ACLU LGBT & HIV Project litigation team for this case included myself,

Steven R. Shapiro, Louise Melling, and Ria Tabacco Mar (together, “ACLU counsel”).


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       16.     I have exercised reasonable billing judgment in determining the amount of

attorney fees that ACLU counsel are requesting for their services to ensure that the time for

which we are seeking compensation is reasonable in light of the tasks counsel were required to

perform.

       17.     As part of that billing discretion, I have decided not to seek payment for over 70

hours of time devoted to this litigation by the following ACLU lawyers:

               a. Steven R. Shapiro, Legal Director of the national ACLU. Mr. Shapiro has

                   practiced law for 39 years and leads all of the ACLU’s Supreme Court

                   practice. Under his leadership, the ACLU regularly files more briefs, as party

                   counsel and as counsel for an amicus, than any other law firm or entity in the

                   country other than the Office of the Solicitor General of the United States.

                   Mr. Shapiro devoted over 40 hours to this litigation.

               b. Louise Melling, Deputy Legal Director of the national ACLU. Ms. Melling

                   has practiced law for more than 25 years and currently supervises the ACLU’s

                   work on LGBT rights, women’s rights, reproductive freedom, and religion.

                   She has been counsel in numerous Supreme Court cases, as well as in federal

                   constitutional litigation across the country. Ms. Melling spent over 30 hours

                   to this litigation.
       18.     The attorney time records attached to this declaration detail the time I spent on the

representation. These hours are based on the contemporaneous records that I maintained during

the course of my involvement in this case. The attorney time records are a true and accurate

reflection of professional services reasonably rendered by me to the Plaintiffs in this litigation.

       19.     The attorney time records attached to this declaration also detail the time that Ria

Tabacco Mar spent on the representation. Ms. Mar graduated magna cum laude from Harvard

College and cum laude from New York University School of Law, where she was an Articles


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Editor of the Law Review. She is admitted to practice law in New York State and in the

following federal courts: U.S. Supreme Court; U.S. Courts of Appeals for the Fourth, Sixth, and

Seventh Circuits; and U.S. District Courts for the Southern and Eastern Districts of New York.

       20.     Ms. Mar served as a judicial law clerk for the Honorable Julia Smith Gibbons,

United States Circuit Judge for the Sixth Circuit, from 2008 to 2009, and for the Honorable

Victor Marrero, United States District Judge for the Southern District of New York, from 2010

to 2011.

       21.     From 2009 to 2010, Ms. Mar practiced complex civil litigation at the law firm of

Cravath, Swaine & Moore LLP. From 2011 to 2014, she served as Assistant Counsel at the

NAACP Legal Defense & Educational Fund, Inc., where she represented plaintiffs in class action

and complex civil litigation under civil rights statutes and participated regularly in the U.S.

Courts of Appeals and the U.S. Supreme Court as amicus curiae on cases involving marriage

equality.

       22.     Ms. Mar joined the ACLU’s LGBT & HIV Project as a Staff Attorney in 2014.

She has developed an expertise in federal constitutional law and LGBT rights, including the

intersection of equal protection, freedom of speech, and free exercise of religion. For instance,

Ms. Mar is lead counsel in Craig v. Masterpiece Cakeshop, Inc., where the Colorado Court of

Appeals held that a private business did not have a constitutional right to refuse service to a
same-sex couple in violation of the state’s anti-discrimination law. 370 P.3d 272 (Colo. Ct. App.

2015), cert. denied, No. 15SC738, 2016 WL 1645027 (Colo. Apr. 25, 2016), and cert. petition

docketed, No. 16-111 (U.S. July 22, 2016). In 2016, the National LGBT Bar Association named

Ms. Mar one of the nation’s Best LGBT Lawyers Under 40.

       23.     Ms. Mar’s hours are based on the contemporaneous records that she maintained

during the course of her involvement in this case. Her attorney time records are a true and

accurate reflection of professional services reasonably rendered to Plaintiffs in this litigation.


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        24.    I have reviewed the attorney time records of Ms. Mar and have eliminated all

non-productive and non-essential time, as well as all duplicative time.

                                           Hourly Rates
        25.    I request a rate of $700 per hour for my legal services. Lawyers of my level of

skill and experience, who practice civil rights law in New York City, command a market rate of

$700 per hour, as the United States District Court for the Western District of Kentucky

determined earlier this year, Bourke v. Beshear, No. 3:13-CV-00750-CRS, 2016 WL 164626, at

*5 (W.D. Ky. Jan. 13, 2016) (finding that $700 per hour is a reasonable rate for attorneys of my

skill and experience in the relevant market and awarding $700 per hour for my work on Bourke

v. Beshear and Love v. Beshear), and as further evidenced by the Declaration of Anne L. Clark,

submitted as Plaintiffs’ Exhibit 7 in conjunction with this motion for attorney fees.

        26.    I request a rate of $350 per hour for the legal services of Ms. Mar, who received

her law degree in 2008. Lawyers of her level of skill and experience, who practice civil rights

law in New York City, command a market rate of at least $350. The United States District Court

for the Western District of Kentucky recently awarded rates of $400 per hour and $325 per hour

for the work of other staff attorneys in the ACLU’s LGBT & HIV Project with skills and

experience similar to that of Ms. Mar. See Bourke, 2016 WL 164626, at *5 (awarding $400 per

hour for 2005 law graduate and $325 per hour for 2010 law graduate); see also Declaration of
Anne L. Clark (lawyers with the skill and experience of Ms. Mar working in New York

command a market rate of $375).


        I declare under the penalty of perjury that the foregoing is true and correct.



DATE:          September 19, 2016                     s/ James D. Esseks
                                                      James D. Esseks



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Miller v. Davis
Attorney time for James D. Esseks

Date         Time              Description
   8/12/2015         0.4       Review preliminary injunction decision
   8/19/2015         0.2       Correspondence with R. Mar re status of case
   8/21/2015         0.3       Edit opposition to stay motion
   8/21/2015         0.1       Edit notice of appearance
   8/21/2015         0.2       Correspondence with R. Mar re stay opposition
   8/23/2015         0.2       Review edits to stay opposition
   8/26/2015         0.1       Review order denying stay application
   8/26/2015         0.2       Correspondence with B. Sharp re prep for SCOTUS stay opposition brief
   8/27/2015         0.3       Review SCOTUS stay opposition and S. Shapiro edits
   8/28/2015         0.4       Edit SCOTUS stay opposition brief; correspondence re same
   8/28/2015         0.3       Phone calls with B. Sharp and SCOTUS clerk's office re stay application
   9/14/2015         0.7       Edit CA6 stay opposition; correspondence with legal team re same
   9/14/2015         0.5       Review altered marriage license; correspondence with legal team re response
   9/14/2015         0.7       Legal team call re how to respond to altered licenses
   9/14/2015         0.6       Correspondence with legal team re response to altered licenses
   9/15/2015         0.5       Edit CA6 stay opposition; correspondence with legal team re same
   9/15/2015         0.6       Legal team call re next steps and opposition to stay motion
   9/15/2015         0.4       Review edits to CA6 stay opposition
   9/16/2015         1.6       Review draft motion to clarify district court order; correspondence to legal team
   9/17/2016         0.6       Correspondence with legal team re class certification motion
   9/18/2015         0.7       Review multiple drafts of motion to expedite class certification
   9/18/2015         1.2       Edit CA6 opposition to motion to stay; correspondence with legal team re same
   9/20/2015         0.5       Correspondence with legal team re motion to clarfiy/motion to enforce
   9/21/2015         0.5       Edit motion to clarify/motion to enforce
   9/21/2015         0.9       Legal team call re motion to clarify/motion to enforce
   9/21/2015         0.5       Correspondence with legal team re motion to enforce
   9/21/2015         1.1       Edit (multiple times) motion to enforce; correspondence to legal team re same
   9/21/2015         0.5       Legal team call re motion to enforce
   9/24/2015         0.2       Correspondence with legal team about plaintiffs and SCOTUS review
   10/9/2015         0.6       Edit opposition to stay motion
   10/9/2015         0.6       Legal team call re additional plaintiffs
 10/16/2015          0.5       Review correspondence re amended complaint/proposed new action
 10/19/2015          0.2       Correspondence re complaint in intervention
 10/23/2015          0.3       Edit motion to reopen class cert briefing
   11/5/2015         0.4       Correspondence with legal team re intervening complaint
   11/6/2015         0.5       Correspondence with legal team re intervening complaint
 11/20/2015          0.6       Edit reply brief in support of motion to enforce; conferences with R. Mar re same
   12/9/2015         1.2       Edit CA6 brief
    2/9/2016         0.5       Review order denying motion to enforce; correspondence with legal team re sam
   6/17/2016         0.3       Correspondence with legal team re motion to dismiss appeals
   6/21/2016         0.4       Call with April Miller re dismissal of appeals

Total               21.1
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Miller v. Davis
Attorney time for Ria Tabacco Mar

Date         Time             Description
    8/3/2015         0.4      Correspondence re preliminary injunction reply brief
    8/5/2015         0.5      Revise preliminary injunction reply brief
    8/6/2016         0.1      Correspondence re preliminary injunction reply brief
   8/12/2015         0.4      Review preliminary injunction order
   8/13/2015         0.2      Correspondence re briefing on stay pending appeal
   8/19/2015         0.2      Review stay pending appeal and correspond re same
   8/20/2015         0.4      Review co‐counsel agreement and correspond re same
   8/21/2015         1.5      Revise stay opposition brief
   8/21/2015         0.2      Execute and circulate co‐counsel agreement
   8/21/2015         0.2      Review and file notice of appearance
   8/21/2015         0.5      Review Davis's motion to dismiss and correspond re same
   8/21/2015         0.2      Correspondence re stay opposition
   8/26/2015         0.3      Review order denying stay
   8/30/2015         0.2      Correspondence re Sixth Circuit procedure
   8/30/2015         0.3      Revise Supreme Court stay opposition
   8/31/2015         1.0      Research and correspondence re implications of potential stay
   8/31/2015         0.4      Review Davis's emergency application for a stay
   8/31/2015         0.1      Correspondence re related case
   8/31/2015         0.1      Review Supreme Court stay order
   8/31/2015         0.5      Conference call with legal team
   8/31/2015         0.5      Conference call with clients
    9/1/2015         0.1      Correspondence re motion to clarify preliminary injunction
    9/1/2015         1.0      Draft motion to clarify preliminary injunction
    9/2/2015         2.0      Research re remedies for civil contempt and correspond re same
    9/3/2015         0.5      Correspondence re contempt hearing
    9/4/2015         0.8      Research and correspondence re mooting of named plaintiffs' claims
    9/4/2015         0.3      Correspondence re validity of altered marriage licenses
    9/4/2015         0.5      Conference call with legal team re validity of altered marriage licences
    9/7/2015         0.3      Review status report and correspond re same
    9/8/2015         0.5      Conference call with legal team re validity of altered marriage licences
    9/8/2015         2.0      Research and draft opposition to Davis's motion to stay contempt order
    9/8/2015         1.5      Revise opposition to Davis's emergency application for a stay
    9/8/2015         0.2      Review third‐party defendant's opposition to Davis's emergency application for a
   9/13/2015         1.5      Revise opposition to Davis's motion to stay 9/3 order
   9/14/2015         1.0      Conference call with legal team re altered marriage licenses
   9/14/2015         1.0      Research and draft language re impracticability
   9/15/2015         0.7      Research and draft language re scope of injunction
   9/15/2015         0.4      Correspond re remedies for civil contempt
   9/15/2015         0.3      Revise district court opposition to Davis's motion to stay 9/3 order
   9/15/2015         0.7      Conference call with legal team re stay opposition
   9/17/2015         0.7      Review Sixth Circuit stay order and correspond re same
   9/18/2015         1.5      Revise district court opposition to Davis's renewed motion to stay 9/3 order
   10/2/2015         0.2      Correspondence re amicus briefs in support of plaintiffs
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 10/5/2015     0.3    Correspondence re amicus briefs in support of plaintiffs
 10/5/2015     0.5    Review interview notes of potential plaintiffs and correspond re same
 10/6/2015     0.3    Conference call with legal team re amicus briefs in support of plaintiffs
 10/6/2015     0.5    Conference call with potential amicus
 10/6/2015     0.3    Correspondence re potential plaintiffs and amended complaint
 10/7/2015     0.2    Correspondence re potential plaintiffs and amended complaint
 10/8/2015     4.0    Draft Sixth Circuit opposition to Davis's renewed motion to stay 9/3 order
 10/9/2016     0.6    Conference call with legal team re potential plaintiffs
10/13/2015     2.0    Revise Sixth Circuit opposition to Davis's renewed motion to stay 9/3 order
10/17/2015     0.7    Correspondence re filing amended complaint
10/17/2015     1.0    Draft motion to extend time and proposed order
10/19/2015     0.1    Circulate motion to extend time
10/19/2015     0.4    Correspond re amended complaint
10/19/2015     0.8    Conference call with legal team re amended complaint
10/23/2015     0.3    Review reply in support of motion to reopen class certification briefing
 11/2/2015     0.7    Review Davis's opening brief
 11/2/2015     0.4    Conference call with potential amicus
 11/2/2015     0.2    Correspond re potential amicus
 11/5/2015     0.3    Review Sixth Circuit order denying motion to stay 9/3 order and correspond re sa
 11/8/2015     3.0    Draft complaint in intervention
 11/9/2015     1.0    Conference call with legal team re expected changes to marriage licenses
11/13/2015     0.4    Review third‐party defendant's response to motion to enforce and correspond re
11/16/2015     0.8    Conference call with legal team re motion to enforce
11/18/2015     0.5    Correspondence with J. Fernandez re affidavit
11/19/2015     0.7    Draft J. Fernandez affidavit
11/19/2015     4.0    Draft reply in support of motion to enforce
11/19/2015     0.2    Correspondence re schedule for potential amicus
11/20/2015     0.1    Correspondence with J. Fernandez re affidavid
11/20/2015     0.5    Conference call with legal team re reply in support of motion to enforce
11/20/2015     2.0    Revise reply in support of motion to enforce and conference with J. Esseks re sam
11/30/2015     0.1    Correspondence re request for oral argument
 12/8/2015     3.0    Revise Sixth Circuit opposition brief
12/14/2015     2.0    Revise Sixth Circuit opposition brief
12/15/2015     2.5    Revise Sixth Circuit opposition brief and correspond re same
12/28/2015     0.3    Review executive order and correspond re same
  1/6/2016     0.3    Correspond re executive order
 1/11/2016     1.0    Draft response to notice of supplemental authority
 1/12/2015     0.5    Finalize and file response to notice of supplemental authority
 1/19/2016     0.4    Review Davis's Sixth Circuit reply brief
  2/9/2016     0.1    Review order denying motion to enforce
 2/16/2016     0.2    Review status report of Brian Mason and correspond re same
 4/15/2016     0.2    Correspond re new marriage license bill
 4/19/2016     0.3    Review Sixth Circuit order granting third‐party defendant's motion to dismiss and
 6/14/2016     0.2    Correspond re motion to dismiss as moot
 6/16/2016     0.3    Correspond re motion to dismiss as moot
 6/17/2016     0.4    Review letter to Sixth Circuit re mootness and correspond re same
 6/29/2016     0.5    Research vacatur of preliminary order
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   6/30/2016        0.8    Revise response to motion to dismiss and correspond re same
   7/13/2016        0.1    Review Sixth Circuit order dismissing appeals
   7/13/2016        0.4    Correspond with clients re Sixth Circuit order dismissing appeals

Total              66.3
